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                                                                                            United States Bankruptcy Court
                                                                                                Southern District of Texas

                                                                                                    ENTERED
                                                                                               December 17, 2021
                         UNITED STATES BANKRUPTCY COURT FOR THE                                 Nathan Ochsner, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                                                      §             Chapter 11
                                                            §
KORNBLUTH TEXAS, LLC,                                       §             Case No. 21-32261 (CML)
                                                            §
Debtor                                                      §
                        INTERIM
                        XXXXX ORDER AND
                       AGREED        xxxxxxxxxxxxxxxxx
                                         STIPULATION AUTHORIZING
                          THE CONTINUED USE OF CASH COLLATERAL

            xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
           Kornbluth Texas, LLC, the above-captioned debtor and debtor in possession (the “Debtor”)

 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
and WFCM 2016-LC25 West Bay Area Boulevard, LLC (“Lender” and together with the Debtor,

 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
the “Parties”), acting by and through their undersigned counsel, stipulate and agree (the “Stipulated

xxxxxxxxxxxxxx
Order”) as follows:

                                                     RECITALS

           A.       WHEREAS, on July 5, 2021 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).1

The Debtor continues to manage its property and its business as a debtor in possession pursuant to

§§ 1107 and 1108. The Debtor’s primary asset is its interest in the real property commonly known

as Holiday Inn Webster and located at 302 West Bay Area Boulevard, Webster, Texas 77598 (the

“Property”).

           B.       WHEREAS, Lender asserts that it is the holder of security interests, liens, and

mortgages in all or substantially all of the Debtor’s property, including, but not limited to: (i) the

Property and improvements thereon; (ii) all of the Debtor’s rights, title, and interests in all leases,



1
    Unless otherwise indicated, all section (§) references are to the Bankruptcy Code.




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revenue, and rents collected therefrom; and (iii) all of the Debtor’s rights, title, and interests in all

buildings, structures, fixtures, inventory and personal property located thereon (collectively, the

“Collateral”), as evidenced by the loan documents (collectively, the “Loan Documents”). Lender

asserts that all of the Debtor’s proceeds from the Collateral are cash collateral of the Lender (the

“Cash Collateral”) within the meaning of § 363(a).

         C.        WHEREAS, the U.S. Small Business Administration asserts it has a validly

perfected lien encumbering all of the debtor’s tangible and intangible personal property, including

but not limited to accounts, deposit accounts, and receivables.

         D.        WHEREAS, on September 30, 2021, the Court appointed Douglas Brickley of The

Claro Group, LLC as the Chief Restructuring Officer of the Debtor (“CRO”) pursuant to

Bankruptcy Code section 327(a) to operate and manage the Debtor’s business operations.

         E.        WHEREAS, on October 13, 2021, the Court entered its Agreed Order and

Stipulation Authorizing Debtor to Use Cash Collateral on a Final Basis [Docket No. 110] (the

“Final Cash Collateral Order”).

         F.        WHEREAS, appended to the Final Cash Collateral Order as Exhibit A was an

operating budget for October 2021 and the Parties subsequently agreed to an operating budget for

November 2021.

         G.                  xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
                   WHEREAS, for December 2021 and January 2022, the Debtor and Lender agree

 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
that it is in the best interest of the Parties and the Debtor’s bankruptcy estate for the Cash Collateral

to be used in accordance with the budget attached hereto as Exhibit “A” (as the same may be

amended or modified with the express prior written consent of Lender, the “Revised Operating

Budget”).




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           H.       WHEREAS, except as otherwise stated herein, the Debtor, Lender, and the United

States reserve all of their respective rights against the other with respect thereto.

                                         STIPULATION AND ORDER
                                        xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
           NOW, THEREFORE, IT IS HEREBY STIPULATED  AND AGREED BY THE DEBTOR

 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
AND  LENDER, THROUGH THEIR UNDERSIGNED COUNSEL, AND, UPON COURT

xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
APPROVAL  HEREOF, IT SHALL BE ORDERED THAT:

           1.       Except as set forth below, (i) that certain Stipulation [Docket No. 117] between the

Debtor, Lender, and Holiday Hospitality Franchising, LLC; and (ii) the Final Cash Collateral

Order are incorporated by reference herein.2

           2.       The Debtor is hereby authorized, pursuant to sections 361 and 363 of the

Bankruptcy Code, to use Authorized Cash Collateral (as defined in the Final Cash Collateral

Order) in accordance with the Revised Operating Budget.

           3.       Section 2(f) of the Final Cash Collateral Order is stricken; provided, however, that

the Debtor shall pay the Lender the amount of $20,000 as an Adequate Protection Payment within
                                          xxxxxxx Order.
three (3) business days of entry of this Stipulated

           4.       Section 4 of the Final Cash Collateral Order is revised to read as follows:

           Notwithstanding anything to the contrary contained herein, the Debtor’s right to
           use the Cash Collateral shall expire, on the earliest to occur (the first such
           occurrence being hereinafter referred to as the “Termination Event”) of: (i) the date
           Lender’s claim (as agreed to between the Parties or adjuducated by the Court) is
           paid in full (the “Payoff Date”); (ii) January 15, 2022; (iii) the entry of an order by
           this Court terminating the use of Cash Collateral; (iv) the conversion of the
           Debtor’s bankruptcy case to a case under chapter 7 of the Bankruptcy Code; (v) the
           appointment of a trustee or examiner; (vi) the occurrence of the effective date or
           consummation of a plan of reorganization; or (vii) the Debtor’s non-compliance
                                                  xxxxxxxx Order and the expiration of five (5)
           with any term or provision of this Stipulated
           days’ notice of such alleged default and opportunity to cure.


2
    Capitalized terms not defined herein shall have the meanings given to them in the Final Cash Collateral Order.


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         5.        Section 3 of the Final Cash Collateral Order is revised to read as follows, but only

with respect to the Debtor’s use of Cash Collateral for the months of December 2021 and January

2022.

         Carve-Out. Subject to the terms and conditions contained in this paragraph, the
         Adequate Protection Obligations shall be subject and subordinate to payment of a
                                                            xxxxxxx Order, the term “Carve-
         carve-out (the “Carve-Out”). As used in this Stipulated
         Out” shall mean: (a) quarterly fees required to be paid pursuant to 28 U.S.C. §
         1930(a)(6); and any fees payable to the Clerk of the Bankruptcy Court (the
         “Statutory Fees”); (b) actually incurred expenses included in the Revised Operating
         Budget but unpaid as of the Termination Date (defined herein) of the Debtors’ right
                                                          xxxxxxx Order; and (c) the aggregate
         to use Authorized Cash Collateral under this Stipulated
         amount of any fees and expenses of any Court-approved estate professionals (the
         “Professionals”) which are actually incurred, but unpaid as of the Termination Date,
         but only to the extent such fees and expenses have been previously or subsequently
         are approved by this Court and only to the extent such incurred and unpaid fees and
         expenses exceed any retainer held by any such Professional at the time of such
         termination. In addition, the Carve-Out shall include the reasonable fees and
         expenses incurred by a trustee under section 726(b) of the Bankruptcy Code in an
         amount not to exceed $10,000. Prior to the Termination Date, and subject to the
         entry of an appropriate order of this Court (in form and substance reasonably
         acceptable to the Lender), the Debtor shall be authorized to use Authorized Cash
         Collateral to pay compensation and reimbursement of budgeted expenses allowed
         and payable through and including the Termination Date in accordance with the
         Revised Operating Budget. To the extent the Debtor has insufficient funds to pay
         compensation and reimbursement of expenses through and including the
         Termination Event in accordance with the Revised Operating Budget, Lender
         agrees: (i) to pay the shortfall from the disposition of Lender’s Collateral; and (ii)
                                             xxxxxxx Order shall survive and remain in full
         the Carve-Out set forth in this Stipulated
         force and effect regardless of whether Lender forecloses and/or sells the Collateral
         as provided in the Court’s prior Order [ECF # 85] lifting the automatic stay.
         Nothing herein shall be construed to impair the ability of any party in interest to
         object any fees, expenses, reimbursement, or compensation sought by the
         Professionals, nor shall anything herein be construed to affect the rights of any party
         in interest to file an application for the allowance of fees and expenses.

         6.        In addition to the provisions of the Final Cash Collateral Order which are

incorporated in this xxxxxxxx          xxxxxxxxxxxxxxxxx
                     Stipulated Order, the Parties agree that the Carve-Out shall not exceed an

amount equal to the sum of amounts previously agreed to pursuant to the Court’s Final Cash

Collateral Order plus the difference between (i) the allowed amount of the Lender’s claim against

the Debtor’s Bankruptcy Estate and (ii) any amounts paid to the Lender on account of such claim,

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including the amount of any credit bid by the Lender at a foreclosure sale. Further, nothing in this
xxxxxxxx
Stipulated Order or in any prior order of the Court shall be deemed a waiver by the Debtor or its

estate of its rights against any creditor, other than the Lender, pursuant to section 506(c) of the

Bankruptcy Code.

         7.        The Court shall retain jurisdiction with respect to all matters arising from or related

         xxxxxxx Order.
to this Stipulated

         8.        The Court will conduct a hearing on the continued use of cash collateral

under this Order on December 30, 2021 at 10:00 a.m.




              August 02,
              December 17,2019
                           2021




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AGREED AND CONSENTED TO:

OKIN ADAMS LLP

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COUNSEL TO THE DEBTOR



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COUNSEL FOR WFCM 2016-LC25 WEST
BAY AREA BOULEVARD, LLC




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                                       EXHIBIT A

                                REVISED OPERATING BUDGET




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Kornbluth Texas, LLP
Case 21-32261
Seven Week Cash Flow
                                                   Week Ending           Week Ending        Week Ending        Week Ending       Week Ending        Week Ending       Week Ending
                                                     12/17/2021           12/24/2021         12/31/2021          1/7/2022         1/14/2022          1/21/2022         1/28/2022             Totals
   Room Nights Available                                   763               763                763                763               763                763               763
   Room Nights                                             331               331                331                344               344                344               344                2369
   Occupancy Percentage                                43.4%                43.4%              43.4%              45.1%             45.1%              45.1%             45.1%               44.4%
   ADR                                                 $90.89               $90.89             $90.89             $92.71            $92.71             $92.71            $92.71          $       91.95



   Cash Receipts1                                               30,085            30,085             30,085             31,892            31,892             31,892            31,892          217,823


  Cash Disbursements
+ Employee Payroll                                              24,500                 -             24,500                  -            24,500                  -            24,500           98,000
   Food and Beverage Expense                                      250                250                250                250               300                300               300            1,900
   State and Local Tax (do not use)                         -                 -                  -                  -                 -                  -                 -                            -
  Property Tax2 (do not use)                                -                 -                  -                  -                 -                  -                 -                            -
+ Gas and Electricity                                                -                 -                  -                  -             3,724                  -                 -            3,724
+ Water/Sewer                                                        -               840                  -                  -                 -                  -               840            1,680
+ Maintenance Supplies                                            250                250                250                250               250                250               250            1,750
+ Operational Franchise Fee                                                       17,500                                                                     19,725                             37,225
  Equipment Repairs & Supplies                                    500                500                500                500               500                500               500            3,500
+ Laundry and Housekeeping Supplies                               662                662                662                688               688                688               688            4,738
   Office Supplies                                                                                                         150                                                                        150
   Lobby Materials (do not use)                             -                 -                  -                  -                 -                  -                 -                            -
   Internet & Cable                                                  -                 -              5,000                  -                 -                  -             5,000           10,000
   Travel Agent Commissions (2.5% Transient)                      752                752                752                797               797                797               797            5,446
   401K                                                          1,400                 -              1,400                  -             2,500                  -             2,500            7,800
   Miscellaneous Expense3                                        1,053             1,053              1,053              1,116             1,116              1,116             1,116            7,624
   Total Cash Disbursements                                     29,367            21,807             34,367              3,752            34,376             23,377            36,492          183,536


   Cash Flow from Operations                                      718              8,278             (4,282)            28,141            (2,483)             8,516            (4,599)          34,286      15.7%


   Non-Operating Expenses
   Capital Expenditures & One Time Expense4                      6,898                 -                  -                  -                 -                  -                 -            6,898
   Insurance                                                         -            12,465                  -                  -                 -                  -            12,465           24,930
                    2
   Property Tax                                                      -                 -                  -                  -                 -                  -                 -           63,141
   State and Local Tax                                               -                 -             17,388                  -                 -                  -            16,008           33,700
   Past Due Franchise Fees5                                          -                 -                  -                  -                 -                  -                 -                   -
   Total Non-Operating Expenses                                  6,898            12,465             17,388                  -                 -                  -            28,473           65,224


   Adequate Protection Payments                                                                                                                                                                         -
   Adequate Protection Payments                                 20,000                 -                  -                  -                 -                  -                 -           20,000


   Bankruptcy Related Costs                                                                                                                                                                             -
   Okin Adams6                                                       -                 -                  -                  -                 -                  -                 -                   -
   The Claro Group6                                                  -                 -                  -                  -                 -                  -                 -                   -
   BTTX Associates                                                   -                 -                  -              7,500                 -                  -                 -            7,500
                6
   US Trustee                                                        -                 -              1,605                  -                 -                  -               391            1,996
   Total Bankruptcy Related Costs                                    -                 -              1,605              7,500                 -                  -               391            9,496


   Net Cash Flow                                            (26,181)              (4,187)        (23,275)               20,641            (2,483)             8,516        (33,464)             (60,434)


   Cash Collateral Balance
   Beginning Cash Balance                                  259,921            233,740            229,553            206,278           226,919            224,435           232,951             259,921
   Gain/(Loss) from Activity                                (26,181)              (4,187)        (23,275)               20,641            (2,483)             8,516        (33,464)             (60,434)
   Ending Cash Balance                                     233,740            229,553            206,278            226,919           224,435            232,951           199,487             199,487


   Post Close Expenses7                                                                                                                                                    113,141


   Notes
   1. Revenues are estimated based on STR and PY performance.
   2. Property taxes are included in post close expenses
   3. Miscellaneous Expense is estimated to be 3.5% of weekly revenues
   4. See tab "Capital & One Time Expense" for a breakout of Capital Expenses for the week ending 12/10
   5. The current amount outstanding for over due Franchise Fees is $73,459.20. We are currently
   in the process of determining the break out of pre and post-petition as well as working out a
   payment plan.
   6. See tab "Accrued & Unpaid Expenses" for breakout of estimated professional fees accrued in Oct and Nov
   7. See tab "Accrued & Unpaid Expenses" for breakout
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Accrued & Unpaid Expenses
*There are no unpaid expenses outside of those listed below that we are currently aware of
            Professional Fees


            Okin Adams
                                                     Estimated Actuals
                                                   October        November
            Estimated Actuals                    $    50,000      $  50,000
            Payments                                        -               -
            Outstanding Balance                  $     50,000     $   100,000


            The Claro Group
                                                     Estimated Actuals
                                                   October        November
            Estimated Actuals                    $    50,000      $  50,000
            Payments                                        -               -
            Outstanding Balance                  $     50,000     $   100,000
            *Professional fees for December and January not included in budget
            Other Expenses

            Due at Close
            Property Taxes                       $     63,141
            CBRE                                 $     50,000
            Total                                $    113,141


            Unpaid Franchise Fees
            Currently in the process of determining the outstanding balance


            US Trustee Fees
            Calculation: .4% x (Quarterly Disbursements-62,624)+250


            Q4
            October Disbursements                                 $   216,468
            November Disbursements                                     92,117
            December Disbursements (Estimated)                         92,732
            US Trustee Fees                                       $     1,605


            Q1
            January Disbursements                                      97,995
            US Trustee Fees                                       $      391
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Capital & One Time Expenses

         Capital & One Time Expenses
         Vendor                        Description                                 Amount
         Yvonne Small                  Expense Reimbursement for essential items    $1,800.00
         Kat's Plumbing                Boiler repair                                $2,482.16
         Willbanks                     Boiler repair                                $2,616.32


                                                                                    $6,898.48
